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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION
                                       at Cincinnati



Sara Hawes, et al.,

                      Plaintiffs,

       vs.                                          Case Number: 1:17cv754
                                                    Judge Timothy S. Black

Commissioner of Social Security,

                      Defendant.



                         CERTIFICATE OF MAILING BY CLERK

       The Clerk of the United States District Court for the Southern District of Ohio has been
requested to issue the complaint and summons to the defendants. The requested service was sent
by certified mail on November 16, 20175. The receipts for certified mail are attached.




BY: s/Emily Hiltz
    Deputy Clerk
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